      Case 2:18-cv-13556-SM-KWR Document 199 Filed 08/18/21 Page 1 of 3




                         UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA

KHOLKAR VISHVESHWAR GANPAT,               *                   CIVIL ACTION
    Plaintiff,                            *
                                          *                   NO. 18-13556 “E” (4)
VERSUS                                    *
EASTERN PACIFIC SHIPPING PTE. LTD.,       *                   JUDGE SUSIE MORGAN
d/b/a “EPS”,                              *
       Defendant.                         *                   CHIEF MAGISTRATE JUDGE
*******************************************                   KAREN WELLS ROBY


         PLAINTIFF’S MOTION FOR A PERMANENT INJUNCTION
     AND REQUEST THAT TRIAL ON THE MERITS BE ADVANCED AND
  CONSOLIDATED WITH THE HEARING ON THE PRELIMINARY INJUNCTION

       NOW INTO COURT, through undersigned counsel comes Kholkar Vishveshwar Ganpat

(“Plaintiff”) who pursuant to Fed. R. Civ. P. 65(a) respectfully moves this Honorable Court for

issuance of a preliminary injunction enjoining the prosecution by Eastern Pacific Shipping Pte. Ltd.

(“Defendant”) and its wholly-owned subsidiary Eastern Pacific Shipping (India) Pte. Ltd., of the

Republic of India litigation in the District Court of South Goa styled and numbered “Eastern Pacific

Shipping (India) Pte. Ltd. and Eastern Pacific Shipping Pte. Ltd. versus Vishveshwar Ganpat

Kholkar,” Commercial Suit No. 2/2020.

       Plaintiff, pursuant to Fed. R. Civ. P. 65(a)(2), further moves this Honorable Court for an

Order consolidating the injunction trial on the merits with the hearing on the motion for preliminary

injunction.

       This motion was originally filed on July 28, 2020.1 In the Court’s February 18, 2021 Order,



       1
           See Rec. Doc. 166.

                                            Page 1 of 3
      Case 2:18-cv-13556-SM-KWR Document 199 Filed 08/18/21 Page 2 of 3




the motion was “denied without prejudice to being refiled in the event Plaintiff affects service of

process, pursuant to FRCP 4, upon Eastern Pacific Shipping Pte. Ltd. in the Republic of Singapore.”2

On April 13, 2021, Eastern Pacific was personally served in Singapore3 and the Court denied its

subsequent Motion to Disregard Service.4

                                               Respectfully submitted,

                                                /s/ Richard M. Martin, Jr.
                                               Richard M. Martin, Jr., TA, LA Bar #08998
                                               Lamothe Law Firm, LLC
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                                               New Orleans, LA 70130
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                                      And:      /s/ Alejandro J. Gonzalez
                                               Alejandro J. Gonzalez, FL Bar # 015293
                                               Law Office of Alejandro J. Gonzalez
                                               199 E. Flagler Street, Suite 610
                                               Miami, FL 33131
                                               E-Mail: alex@agonzalezlaw.com
                                               Counsel for Plaintiff pro hac vice


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the above and foregoing pleading has this day been
forwarded to the following counsel of record to this proceeding by electronic transmission, facsimile
and/or by depositing same in the United States Postal Service, properly addressed and postage
prepaid, this 18TH day of August, 2021.

                                               /s/ Richard M. Martin, Jr.


       2
           See Rec. Doc. 175.
       3
           See Rec. Doc. 184.
       4
           See Rec. Doc. 196.

                                             Page 2 of 3
Case 2:18-cv-13556-SM-KWR Document 199 Filed 08/18/21 Page 3 of 3




                             RICHARD M. MARTIN JR. (#08998)




                           Page 3 of 3
